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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            MARSHALL DIVISION



Snik LLC,

                Plaintiff,              Civil Action No. 2:19-cv-00387-JRG

      v.

Samsung Electronics Co., Ltd.; and
Samsung Electronics America, Inc.,

                Defendants.



 PLAINTIFF SNIK LLC’S MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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I.     INTRODUCTION

       Samsung has followed its typical playbook with respect to discovery into its financial

information relevant to calculation of a reasonable royalty: stonewall, prevaricate, and delay.

Samsung abused the discovery process for nearly a year, playing hide-the-ball. All of the

documents Snik sought through discovery and now moves to compel are well within the scope of

Fed. R. Civ. P. 26(b), are not privileged, and are not unduly burdensome for Samsung to produce:

            •   Documents to show the underlying detail and data concerning costs of goods sold
                and operating expenses for Accused Products, as reflected on spreadsheets
                Samsung has produced as SAMSUNGSNIK-00015515-00015519 which merely
                list a single number for COGS and Operating Expenses;

            •   A complete bill of materials in the form of a native XL spreadsheet for each
                Accused Product, with cost data for all components in the accused products;

            •   Documents quantifying the hours spent and money paid by Samsung pertaining
                to the engineering effort on the functionality of Hall sensors, touch sensors, the
                out of box experience, battery life, and wear detection of each of the Accused
                Products;

            •   Documents to show the manufacturing and production costs of Accused Products,
                together with the transfer pricing for sales of Accused Products from Samsung
                Electronics Co. Ltd. to Samsung Electronics America, Inc.

During meet-and-confer conferences, Samsung never claimed that producing these documents

would be unduly burdensome. Samsung simply refused to locate and produce them, instead

arguing that Snik had to make some particularized showing of relevance to obtain obviously

discoverable information. Most recently, Samsung proffered (grossly unprepared) Mr. Sean Diaz,

with whom this Court is well familiar, as its 30(b)(6) witness to testify concerning such issues.

II.    FACTUAL AND PROCEDURAL BACKGROUND

       Defendants Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc.

(“Samsung”) infringe two patents of Plaintiff Snik LLC (“Snik”)—Patent No. 9,167,329 (the “’329

Patent”) and Patent No. 9,769,556 (the “’556 Patent”) (together the “Patents-in-Suit”). The Patents-

in-Suit disclose and claim systems and methods for employing magnets and electronic device

controllers in headset systems to control the operation of electronic devices. Snik presented the



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Patents-In-Suit to Samsung in early 2018, but Samsung refused to either acquire or license them.

Snik contends Samsung has been selling accused products since at least 2017.

       In its original Complaint filed on November 25, 2019, and in its Infringement Contentions

served on March 23, 2020, Snik accused three Samsung products. On December 2, 2020, Snik

served its First Amended Disclosure of Asserted Claims and Infringement Contentions, accusing

five Samsung products—Level U Pro and Level U Pro Active Noise Cancelling neckband-type

wireless headphones, and Galaxy Buds, Galaxy Buds+ and Galaxy Buds Live true wireless

earbuds (collectively, “Accused Products”). Snik contends that each of the Accused Products

employs magnetic Hall-effect sensors and micro-controller chips to control external electronic

devices to which the earbuds/headphones are paired through Bluetooth.

       On April 17, 2020, Snik served Samsung with a first set of Interrogatories and a first set of

Requests for Production of Documents (Nos. 1-82, “Document Requests”). Snik’s Document

Requests relating to Samsung’s profitability for sales of Accused Products included the following:

       REQUEST FOR PRODUCTION NO. 64:
       DOCUMENTS sufficient to show the profitability of each ACCUSED PRODUCT,
       INCLUDING revenues, costs of goods sold, order contributions, product margins, gross
       margins, credits, returns, and operating profits.

       REQUEST FOR PRODUCTION NO. 75:
       DOCUMENTS sufficient to show SAMSUNG’s cost for each of the Hall-effect sensors,
       touch sensors, touch sensor controllers, BCM43013, BCM43014, BCM43015,
       ABOVF6432AUB, Samsung S2MUA01X, Samsung S2MUB01X , CSR8675 Bluetooth
       audio SOC, the MICRO CONTROLLER UNITS and the SOCs in all ACCUSED
       PRODUCTS.

On May 18, 2020, Samsung served Objections and Responses to Snik’s Interrogatories, but failed

to serve any response or objections to Plaintiff’s Document Requests.

       On July 22, 2020, the parties met and conferred concerning Samsung’s deficient discovery

responses, mandatory disclosures, and document production. During that call, Samsung admitted

that it had not yet produced a number of categories of relevant documents including documents

responsive to Snik’s Document Requests. Oddly, Samsung insisted that it was not required to




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provide any response to Plaintiff’s Document Requests because there is no such requirement in the

E.D. Texas. 1 Samsung assured Snik that responsive documents would soon be produced.

        Over the next four (4) months, Samsung made four additional document productions to

Snik, none of which included any sales information. On or about November 10, 2020, Snik served

a second set of Interrogatories (Nos. 25-30, “Set Two Interrogatories”), including the following:

        INTERROGATORY NO. 25
        For each ACCUSED PRODUCT, state, on a quarterly basis starting from first sale in the
        United States and continuing to the most recent sale in the United States, the quantity
        YOU sold in the Unites States and the corresponding gross revenue, cost of goods sold,
        operating profit, and net income.

On December 18, 2020, Samsung served its responses to Set Two Interrogatories. In response to

Interrogatory No. 25, Samsung elected not to provide any substantive information.

        Having still not received any documents supporting Samsung’s revenue, costs and

expenses relating to sales of Accused Products, on December 4, 2020, Snik wrote a 14-page letter

to Samsung identifying the myriad categories of documents Samsung had failed to produce; two

relevant pages (pp. 10-11) of that letter are attached as Exhibit 1. On December 14, the parties had

a telephonic meet-and-confer conference, and Samsung admitted it had still not produced any

financial documents depicting sales data. Remarkably, Samsung advised that the reason it had not

yet produced such documents was that the parties had been engaging in settlement discussions.

Samsung again assured Snik that it would produce the requested documents in the next couple of

weeks as to all products except the Galaxy Buds Live, which documents would be produced shortly

thereafter.


1
 Contrary to Samsung’s assertion, patent litigants in the E.D. Texas must comply with the
requirements of Rule 34. See, e.g., Largan Precision Co., Ltd. v. Ability Qpto-Electronics Tech.
Co., Ltd., No. 4:19-cv-696, 2020 WL 4201931, at *1-2 (E.D. Tex. July 22, 2020) (granting in part
patentee’s motion to compel documents requested from accused infringer, discussing the
requirements of Fed. R. Civ. P. 34, and clarifying that “[A]fter responding to each request with
specificity, the responding attorney must sign their request, response, or objection certifying that
the response is complete and correct to the best of the attorney’s knowledge and that any objection
is consistent with the rules and warranted by existing law or a non-frivolous argument for
changing the law,” and that the rule “simply requires that the attorney make a reasonable inquiry
into the factual basis of his response, request, or objection.”).

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       A month later, Samsung had still not produced any financial documents. Samsung sent Snik

a letter dated January 12, 2021 in which it again admitted that it had not yet produced any documents

from which Snik could ascertain the number of net units sold and net revenue of Accused Products,

and represented that it would “produce relevant, responsive, and non-privileged documents from

which Snik may ascertain the number of net units sold and net revenue of the accused products in

this case.” See relevant page (p. 32) of Samsung letter attached as Exhibit 2.

       On January 15, 2021, Samsung produced a bare-bones 5-page spreadsheet

(SAMSUNGSNIK-00015515 to 15519) depicting for each Accused Product on a quarterly basis a

single number for quantity sold, sales, COGS, and Operating Expenses. On February 5, 2021,

Samsung produced a more legible copy of this same spreadsheet. Those two spreadsheets, and one

additional spreadsheet that includes sales information concerning additional quarters of sales for

some Accused Products, comprise all the sales and cost information Samsung has produced to date.

       On February 9, 2021, Snik sent another letter to Samsung identifying specific documents

that were still missing from Samsung’s productions. Among the documents Snik requested were

the cost documents Snik seeks in this motion. See relevant pages (pp. 1-2) of Snik letter attached

as Exhibit 3. When the parties met and conferred on February 19, 2021, Samsung claimed it did

not understand what cost documents Snik was seeking and expressed confusion as to which

documents might contain the requested information2.

       On February 24, 2021, Snik took the deposition of Sean Diaz, Samsung’s 30(b)(6) 3

witness designated to testify on topics numbers 55-59, the “sales, pricing, and revenue

RELATING TO [each Accused Product], including actual and forecasted unit prices, sales,



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  Jin-Suk Park, Ryan Nishimoto, and Melissa Smith participated in the telephonic conference on
behalf of Samsung. John Kyle and Laura Gantney participated on the call on behalf of Snik LLC.
3
   On November 17, 2020, Snik served each of the Samsung Defendants with a Notice of
Deposition Pursuant to Fed. R. Civ. P. 30(b)(6) (“30(b)(6) Notices”). In the 30(b)(6) Notices,
Snik additionally requested that both Samsung Defendants produce certain categories of
documents; these document categories included, at Request Nos. 64 and 79, requests for the same
types of sales and cost documents that Snik previously requested in written discovery as
Document Request Nos. 64 and 75.
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revenues, costs, and profits.” Mr. Diaz was grossly unprepared to provide testimony on these five

(5) topics. 4 Further, Samsung improperly claimed that Mr. Diaz was only required to provide

limited testimony on the five topics subject to Samsung’s objections to Snik’s 30(b)(6) Notice. 5

III.      ARGUMENT

          A.      The Requested Documents Are Within The Scope Of Permissible Discovery

       Under Federal Rule of Civil Procedure 26(b)(1), parties “may obtain discovery regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case . . . .” Fed. R. Civ. P. 26(b)(1). “Information within this scope of discovery need not

be admissible in evidence to be discoverable.” Id. “Once the moving party establishes that the

materials requested are within the scope of permissible discovery, the burden shifts to the party

resisting discovery to demonstrate why the discovery is irrelevant, overly broad, or unduly

burdensome or oppressive. Edward D. Ioli Trust v. Avigilon Corp., No. 2:10-cv-605, 2012 WL

5830711, at *1 (E.D. Tex. Nov. 16, 2012).

          Information and documents reflecting an accused infringer’s sales, profits, and costs are

relevant and are typically produced in a patent case. EVS Codec Technologies, LLC v. OnePlus

Technology (Shenzhen) Co., Ltd., No. 2:19-cv-00057, 2020 WL 6365514, at *1-2 (E.D. Tex.

Apr. 9, 2020) (compelling accused infringer to produce its worldwide sales information because

it is relevant to reasonable royalty calculations and to commercial success as a defense to



4
  Because Samsung designated the entire transcript of Mr. Diaz’s deposition as AEO (remarkable
since he knew virtually nothing), Snik will not provide the testimony in this Motion, but Snik will
provide the Court with the rough transcript of the deposition should the Court want to review it.
5
  Upon receiving a 30(b)(6) Notice, a corporate party has only two options: (1) designate a
knowledgeable person to testify at the deposition, or (2) move for a protective order. DDR
Holdings, LLC v. Hotels.com, L.P., No. 2:06-CV-42, 2012 WL 2935172, at *2 (E.D. Tex. July 18,
2012) (granting Plaintiff’s motion to compel a knowledgeable corporate representative, and
explaining that to comply with the Fed. R. Civ. P. and the Local Rules, a party receiving a 30(b)(6)
notice must seek a protective order if the parties do not reach an agreement about limiting the
scope of the noticed topics); see also Motiva Patents, LLC v. Sony Corporation, No. 9:18-cv-
00180, 2019 WL 6648298, at *1 (E.D. Tex. April 3, 2019). Samsung did neither. Samsung
elected not to file a motion for a Protective Order because it well knew that Snik is entitled to the
requested discovery. See DDR Holdings, LLC v. Hotels.com, L.P., at *2, with Court expressing
same concern.
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obviousness, and could be indicative of the overall financial health of a company which may

weigh in the hypothetical negotiation); DDR Holdings, LLC v. Hotels.com,. L.P., No. 2:06-cv-42,

2012 WL 2935315, at *2 (E.D. Tex. July 18, 2012) (granting patentee’s motion to compel accused

infringers to provide more complete information relating to revenue attributable to sales of

accused technology, and finding that because the infringers compile the requested information in

their ordinary course of business, it would not be burdensome to hand over the information);

Adaptix, Inc. v. Ericsson, Inc., No. 6:12cv369, 2014 WL 12607776, at *1-3 (E.D. Tex. July 21,

2014) (granting patentee’s motion to compel documents concerning revenue, gross profit and

operating profit, finding they were relevant to the issue of patentee’s damages, including several

of the Georgia Pacific factors); GSI Group, Inc. v. Sukup Mfg. Co., 2007 WL 1390611, at *2

(C.D. Ill. May 9, 2007) (granting patentee’s motion to compel accused infringer to produce

financial reports that contained costs data relevant to understanding the deposition testimony of

the accused infringer’s witness and to evaluate the opinions of the accused infringer’s damages

expert); Chembio Diagnostic Systems, Inc. v. Saliva Diagnostic Systems, Inc., 236 F.R.D. 129,

138-39 (E.D. N.Y. 2006) (granting patentee’s motion to compel accused infringer to produce

documents relating to infringer’s manufacturing costs, vendor communications, and customer

purchases because those documents were relevant to determining damages.)

       Samsung’s concealment of documents that would establish the actual costs it incurred in

manufacturing the Accused Products and its transfer pricing of Accused Products SEC sold to

SEA, together with more granular data concerning its alleged COGS and operating expenses is

unconscionable. And this is not the first time it has Samsung has engaged in this abuse of

discovery in this Court. In Koninklijke KPN N.V. v. Samsung Electronics Co., Ltd., No. 2:14-cv-

1165, 2016 WL 7042222, at *1, 3 (E.D. Tex. July 25, 2016), the Court discussed the reason for

its earlier order compelling Samsung to produce component level financial statements. The Court

explained that such documents “should enable Plaintiff to withstand a later attack on its damages

model,” and that with “component-level cost information, Plaintiff could do so, and meet its

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obligation to apportion its damages model, for example, according to the smallest salable patent-

practicing unit principle or any other principled methodology.” Id. at *3. Notably, the Court also

continued plaintiff’s deadline to serve its damages expert report for fourteen (14) days after the

date of Samsung’s production. Id. at *1.

       B.      Samsung Was Long Ago Obligated To Produce The Requested Documents

       The Discovery Order (Dkt. #23 at p. 3) and the original Docket Control Order (Dkt. #22)

required Samsung to produce by April 13, 2020, as part of its additional disclosures, and without

awaiting a discovery request, all documents “relevant to the pleaded claims or defenses involved

in this action.” The original Docket Control Order also required Samsung to substantially

complete document production by August 26, 2020, and to “make good faith efforts to produce

all required documents as soon as they are available and not wait until the substantial completion

deadline.” Moreover, Snik’s Document Requests, Set Two Interrogatories, and 30(b)(6) Notices

all requested the cost/expense information and documents that Snik seeks in this Motion.

IV.    CONCLUSION

       Snik requests the Court order Samsung to produce the above-described categories of

improperly withheld documents. Snik further requests that the Court grant Snik an additional

fourteen (14) days to serve its expert report on damages, running from the time Samsung produces

the requested documents. Snik also asks the Court to compel Samsung to make Mr. Diaz available

for a second deposition session after Samsung has produced the requested documents.


 Dated: February 26, 2021                           Respectfully submitted,

                                                    KYLE HARRIS LLP

                                                    By:    /s/ John S. Kyle
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that counsel of record who are deemed to have consented

to electronic service are being served with a copy of this document via the Court’s CM/ECF

system per Local Rule CV-5(a)(3) on this 26th day of February, 2021.


                                                      /s/ John S. Kyle
                                                      John S. Kyle


                             CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that counsel has complied with the meet and confer

requirement in Local Rule CV-7(h) and that is an opposed motion. The parties have met and

conferred several times from July 2020 to February 2021 concerning relevant documents that

Samsung has failed to produce.         Most recently, the parties conferred telephonically on

February 19, 2021. On February 19, 2021, I, as counsel for Plaintiff Snik LLC, participated in

the meet-and-confer conference with Jin-Suk Park and Melissa Smith, lead and local counsel for

Samsung. Also in attendance were my associate, Laura Gantney, for Snik LLC, and Ryan

Nishimoto as counsel for Samsung. Samsung refused to produce any back-up documents

supporting the cost of goods sold or operating expenses for each accused product, insisting that

Snik must first identify the titles of such documents before Samsung would be capable of

searching for the documents requested. With respect to other cost-related documents Snik seeks

in this motion, Samsung generally advised that it was still searching for documents, that it did not

know whether responsive documents exist, and/or that responsive documents within the scope of

Rule 26(b) may not exist. Thus, Snik believes that discussions have ended in an impasse, leaving

an open issue for the Court to resolve.


Dated: February 26, 2021                              /s/ John S. Kyle
                                                      John S. Kyle




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